    Case 2:11-cr-00157-HGB-ALC            Document 301        Filed 06/24/13      Page 1 of 8




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES                                                    CRIMINAL ACTION


 VERSUS                                                           NO: 11-157


 DOMINICK FAZZIO and                                              SECTION: “C” (5)
 MARK J. TITUS

                                    ORDER AND REASONS

       Before the Court is defendant Mark J. Titus' Amended/Corrected Motion for a Hearing

and to Recover his Attorney Fees and Litigation Expenses Due to the Government's Vexation,

Frivolous and/or Bad Faith Prosecution. Rec. Doc. 296. The United States opposes the motion.

Rec. Doc. 299. Based on the facts, the memoranda of counsel, and the law, the Court denies the

motion for the following reasons.

       Titus argues that he should be awarded attorney fees under the Hyde Amendment. 18

U.S.C. § 3006A (Note).1 This provision of the statute allows the court to award the prevailing

party, other than the United States, in a criminal case reasonable attorney fees and other



       1
          This motion is brought in a criminal case, however, the Fifth Circuit has determined that
it shall be brought under civil rules. See United States v. Truesdale, 211 F.3d 898, 903 (2000)
(finding that a motion filed under the Hyde Amendment would be considered under the civil rule
dealing with appeal in the Federal Rules of Appellate Procedure); see also United States v.
Holland, 214 F.3d 523, 525 (4th Cir. 2000) (finding that any motions made pursuant to the Hyde
Amendment should be treated as though filed in accordance with the Federal Rules of Civil
Procedure).

                                                                                                  1
    Case 2:11-cr-00157-HGB-ALC             Document 301         Filed 06/24/13      Page 2 of 8




litigation expenses where it finds that "the position of the United States was vexatious, frivolous,

or in bad faith . . . ." Id.2 See also United States v. Truesdale, 211 F.3d 898, 903 (2000) (citing

United States v. Gilbert, 198 F.3d 1293, 1302 (11th Cir. 1999) (describing the legislative history

and purpose of the Hyde Amendment)).

       The defendant moving for attorney fees bears the burden of proof. Truesdale, 211 F.3d at

908; United States v. Reyes, 16 F. Supp. 2d 759, 761 (S.D. Tex 1998). The defendant must show

by a preponderance of the evidence that the government's position was vexatious, frivolous, or in

bad faith. Truesdale, 211 F.3d at 908. The Truesdale court explained that the defendant must

prove more than just that the government's position was not substantially justified. Id. at 909.

The Court applies the procedures and limitations (but not the burden of proof) from the Equal

Access to Justice Act. 28 U.S.C. § 2412(d)(1)(B); United States v. Claro, 579 F.3d 452, 457 (5th

Cir. 2009).

       Other District Courts in this Circuit have relied on the definitions of vexatious, frivolous,

and bad faith in Black's Law Dictionary in order to find the words' plain meaning and for the


       2
         The law states: "During fiscal year 1998 and in any fiscal year thereafter, the court, in
any criminal case (other than a case in which the defendant is represented by assigned counsel
paid for by the public) pending on or after the date of the enactment of this Act, may award to a
prevailing party, other than the United States, a reasonable attorney's fee and other litigation
expenses, where the court finds that the position of the United States was vexatious, frivolous, or
in bad faith, unless the court finds that special circumstances make such an award unjust. Such
award shall be granted pursuant to the procedures and limitations (but not the burden of proof)
provided for an award under section 2412 of title 28, United States Code. To determine whether
or not to award fees and costs under this section, the court, for good cause shown, may receive
evidence ex parte and in camera . . . ." 18 U.S.C. § 3006A (Note).

                                                                                                      2
    Case 2:11-cr-00157-HGB-ALC             Document 301         Filed 06/24/13      Page 3 of 8




Court to make its determination of whether the defendant has shown the government's position to

be brought based on one of those attributes. United States v. Reyes, 16 F. Supp. 2d at 761; United

States v. Peterson, 71 F. Supp. 2d 695, 698 (S.D. Tex 1999). Black's Law Dictionary defines

vexatious as "without reasonable or probable cause or excuse; harassing; annoying." 1701 (9th

ed. 2009). It defines frivolous as "lacking a legal basis or legal merit; not serious; not

reasonably purposeful," and it defines bad faith as "dishonesty of belief or purpose." Id. at 739 &

159. Courts in this Circuit have followed the Eighth Circuit in finding that "'if the government

had sufficient evidence to have probable cause to believe that [the defendant] committed the

crimes charged, the prosecution against him was not vexation.'" United States v. Gomez, No. EP-

10-CR-1326-KC, 2012 WL 2899715, at *4 (W.D. Tex. July 9, 2012) (citing United States v.

Monson, 636 F.3d 435, 439 (8th Cir. 2011)). The Gomez Court also explained that the

distinction between vexatious and frivolous is that vexatious suggests an intention to harass,

whereas for a purpose to be frivolous, the defendant does not need to show an improper motive.

Id. (citing United States v. Bowman, 380 F.3d 387, 390-91 (8th Cir. 2004)). Bad faith

"'contemplates a state of mind affirmatively operating with furtive design or ill will.'" Id. (citing

United States v. Gilbert, 198 F.3d 1293, 1299 (11th Cir. 1999)). The purpose of the Hyde

Amendment is to "allow wrongly prosecuted criminal defendants 'a means to sanction the

Government for prosecutorial misconduct.'" Claro, 579 F.3d at 456 (citing United states v.

Hristov, 396 F.3d 1044, 1046 (9th Cir. 2005)).

       A grand jury in the Eastern District of Louisiana returned a second superseding

                                                                                                        3
    Case 2:11-cr-00157-HGB-ALC             Document 301        Filed 06/24/13      Page 4 of 8




indictment against Mark J. Titus and Dominick Fazzio charging them with various counts related

to an alleged scheme to defraud Garner Services, Ltd. on October 11, 2012. Rec. Doc.187. The

charges against Titus included three counts of mail fraud, in violation of 18 U.S.C. § 1341, three

counts of wire fraud, in violation of 18 U.S.C. § 1343, one count of conspiracy to launder

monetary instruments, in violation of 18 U.S.C. § 1956(h), five counts of money laundering, in

violation of 18 U.S.C. § 1956(a)(1)(B)(I), and two counts of filing a false tax return, in violation

of 26 U.S.C. § 7206(1). Id.; Rec. Doc. 299 at 13-14. The second superseding indictment added

charges against Titus to charges already brought against his brother-in-law, Dominic Fazzio.

Rec. Doc. 187. Defendant Titus acknowledges that these charges came "immediately on the

heels of Titus' unsuccessful attempt to withdraw his plea of guilty to conspiracy in a different

proceeding involving the same facts and circumstances." Rec. Doc. 296 at 2.

       Titus appears to argue that the prosecution was vexatious, frivolous or in bad faith

because "[t]he Government in bad-faith retaliation against Titus, turned around the day after his

withdrawal motion was denied and his sentence pronounced and indicted Titus [in this case]."

Rec. Doc. 296-1 at 2. Titus previously asked the Court to examine whether the prosecution of

this case was proper considering Titus' previous plea agreement in the case heard before Section

B of this District Court when he moved to dismiss the indictment. Rec. Doc. 220. This Court

denied Titus' motion by finding that he "did, in fact, breach the plea agreement in multiple

ways." Rec. Doc. 299-1 at 12; Rec. Doc. 246. The Court shall not reexamine its conclusion here.

       The only other statement in Titus' motion that could be construed as an argument for why

                                                                                                    4
    Case 2:11-cr-00157-HGB-ALC            Document 301        Filed 06/24/13      Page 5 of 8




the government's prosecution was vexatious, frivolous or in bad faith, is where Titus eludes to

government impropriety regarding the pen recorder and appears to claim that the prosecution

was vexatious, frivolous or in bad faith because of the timing between Magistrate Judge Alma

Chasez' grant of permission for Fazzio to have his expert examine the device for tampering and

the government moving to dismiss the indictment based on evidentiary concerns. Rec. Doc. 296-

1 at 3. Titus has presented no evidence that the pen recorder was the evidentiary concern

referenced in the United States' motion to dismiss the Indictment, the First Superseding

Indictment and the Second Superseding Indictment. Rec. Doc. 293 at 1. The United States stated

in its motion that it moved to dismiss the indictment based on both evidentiary concerns and in

the interest of justice. The Court shall not examine the prosecutor's decision based on mere

speculation about the timing of the motion.

       Courts practice restraint when reviewing prosecutorial decisions. Town of Newton v.

Ramiro, 480 U.S. 386, 396, 107 S.C. 1187, 94 LED.2d 405 (1987). A plurality opinion stated

that courts normally defer to prosecutorial decisions as to whom to prosecute because

prosecutorial charging decisions are not simple. Id. Justice Powell stated: "In addition to

assessing the strength and importance of a case, prosecutors also must consider other tangible

and intangible factors, such as government enforcement priorities. Finally, they also must decide

how best to allocate the scarce resources of a criminal justice system that simply cannot

accommodate the litigation of every serious criminal charge." Id. (Internal citations omitted.) See

also Gilbert, 198 F.3d at 1304 (finding that the Hyde Amendment is targeted at prosecutorial

                                                                                                  5
    Case 2:11-cr-00157-HGB-ALC             Document 301         Filed 06/24/13      Page 6 of 8




misconduct, not prosecutorial mistake or zealousness).

       In United States v. Peterson, a grand jury indicted the defendants on October 29, 1997.

71 F. Supp. 2d 695, 697 (S.D. Tex 1999). It charged them in Count 1 with conspiracy to commit

mail fraud and wire fraud, and in Counts 2-60 with mail fraud. Id. After a five-month jury trial,

the Court declared a mistrial because not enough jurors remained to try the case without consent

of the parties and not all of the parties consented. Id. On March 1, 1999, the Government moved

to dismiss the indictment, and within thirty days after the Court granted the dismissal, defendants

moved for attorney fees under the Hyde Amendment. The Court first reviewed the definitions of

frivolous, vexation and bad faith, and then explained that the Hyde Amendment does not apply

when the position of the United States is "the product of simple negligence or benign

prosecutorial misjudgment." Id. It went further to state that the amendment may not even apply

when the government has so little proof of guilt that no rational trier of fact could find the

defendant guilty beyond a reasonable doubt. Id. The Court concluded, based on its observation

of the prosecution during the trial that resulted in a mistrial, that the Government had regularly

demonstrated thorough and detailed good faith preparation for the prosecution. Id. at 701-02.

Therefore, it found that the government's position had not been shown to be vexatious, frivolous

or in bad faith and denied the motion of four of the defendants for attorney fees. Id. at 702.

       The Court in United States v. Gomez analyzed whether the government's case had been

brought in bad faith and then whether it was vexatious or frivolous. 2012 WL 2899715, at *5. It

found that the Court had not acted in bad faith because the defendant had failed to demonstrate

                                                                                                     6
    Case 2:11-cr-00157-HGB-ALC            Document 301        Filed 06/24/13      Page 7 of 8




that the government did not properly investigate the case and did not stubbornly prosecute based

on misunderstandings or erroneous assumptions. Id. While finding that it was a closer call as to

whether the case was prosecuted from a vexatious or frivolous position, it concluded that it was

not because prosecution neither lacked probable cause, nor had no basis in law or in fact. Id.

The Court stated that the government's case was weak because the government had an "imperfect

witness," however it could not rely on this imperfect witness alone to show that the government's

position was frivolous or vexatious. The Court concluded that "confusion and sloppiness" does

not amount to "vexatiousness or frivolousness." Id., at *6 (citing Truesdale, 211 F.3d at 909).

       Here, the Court has observed the government prosecute the case in good faith. The

government demonstrated it was investigating the case, and indeed relied on an admission from

the defendant. Rec. Doc. 299 at 6. The Court also finds that the government did not lack

probable cause so as to make the government's prosecution of the case vexatious, or frivolous.

The United States vigorously prosecuted the case until it decided not to, at which time it

promptly moved to dismiss the indictments. Rec. Doc. 293. While the prosecution in this case

could also be accused of "sloppiness," if not confusion, the Court finds Titus has not met the

standard to warrant an imposition of attorney fees and litigation costs under the Hyde

Amendment. 18 U.S.C. § 3006A (Note); Gomez, 2012 WL 2899715, at *6 (citing Truesdale, 211

F.3d at 909).

       Accordingly,

       IT IS ORDERED that defendant Mark J. Titus' Amended/Corrected Motion for a

                                                                                                   7
   Case 2:11-cr-00157-HGB-ALC           Document 301          Filed 06/24/13   Page 8 of 8




Hearing and to Recover his Attorney Fees and Litigation Expenses Due to the Government's

Vexatious, Frivolous and/or Bad Faith Prosecution is DENIED. Rec. Doc. 296.

       New Orleans, Louisiana, this 24th day of June, 2013.




                                                  ____________________________________
                                                  HELEN G. BERRIGAN
                                                  UNITED STATES DISTRICT JUDGE




                                                                                             8
